USCA11 Case: 23-12958   Document: 42    Date Filed: 09/25/2023   Page: 1 of 47



                           No. 23-12958
               ____________________________________

               UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
               _____________________________________

                          The State of Georgia,
                           Plaintiff-Appellee,

                                   v.

                         Mark R. Meadows,
                        Defendant-Appellant.
             _______________________________________

             On Appeal from the United States District Court
                  for the Northern District of Georgia,
                      Case No. 1:23-cv-03621-SCJ
             _______________________________________

                      BRIEF FOR APPELLEE
                    THE STATE OF GEORGIA
             _______________________________________



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USCA11 Case: 23-12958      Document: 42    Date Filed: 09/25/2023   Page: 2 of 47



                               Case No. 23-12958

    CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                 DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rule 26.1-2(b), on behalf of Appellee the State of Georgia, the undersigned hereby

certifies that the Certificate of Interested Persons and Corporate Disclosure

Statement provided in the Brief of Appellant appears complete.

     Respectfully submitted, this 25th day of September, 2023.

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                                   Cert page i
 USCA11 Case: 23-12958                    Document: 42              Date Filed: 09/25/2023                Page: 3 of 47




                                          TABLE OF CONTENTS


CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
DISCLOSURE STATEMENT .................................................................................. i
TABLE OF CONTENTS ........................................................................................... i
TABLE OF AUTHORITIES ................................................................................... iii
INTRODUCTION .....................................................................................................1
STATEMENT OF THE CASE ..................................................................................1
SUMMARY OF THE ARGUMENT ........................................................................9
ARGUMENT ...........................................................................................................11
  I. Appellant has not demonstrated that he has been prosecuted for acts
  taken under color of his office. ..........................................................................11
     A.                                                                                                                   ..12
     B.
     duties as Chief of Staff......................................................................................19
     C.
     outside the scope of his duties and therefore not taken under color of his
     office. .................................................................................................................27
  II. Appellant has not demonstrated that he has a colorable Supremacy
  Clause immunity defense....................................................................................32
CONCLUSION ........................................................................................................39
CERTIFICATE OF COMPLIANCE .......................................................................40
CERTIFICATE OF SERVICE ............................................................................41




                                                              i
USCA11 Case: 23-12958   Document: 42    Date Filed: 09/25/2023   Page: 4 of 47




                                   ii
 USCA11 Case: 23-12958                   Document: 42            Date Filed: 09/25/2023              Page: 5 of 47



                                      TABLE OF AUTHORITIES

Cases
Baucom v. Martin, 677 F.2d 1346 (11th Cir. 1982) ................................................16
Castillo v. Snyders, 497 F.Supp. 3d 299 (N.D. Ill. 2020) ........................................16
Caver v. Cent. Ala. Elec. Coop., 845 F.3d 1135 (11th Cir. 2017) .................... 11, 17
Clinton v. Jones, 520 U.S. 681 (1997) .....................................................................36
Colorado v. Symes, 286 U.S. 510 (1932).......................................................... 12, 27
Hagen v. Benjamin Foster Co., 739 F.Supp.2d 770 (E.D. Pa. 2010) ......................37
In re Neagle, 135 U.S. 1 (1890). ..............................................................................32
Jefferson County v. Acker, 527 U.S. 423 (1999) .....................................................16
Kellogg Brown & Root Srvs. v. United States, 575 U.S. 650 (2015) ......................12
                                    , 91 F.3d 1424 (11th Cir. 1996). .......................32
Mayor & City Council of Balt. v. BP P.L.C., 31 F.4th 178 (4th Cir. 2022). ...........16
Mesa v. California, 489 U.S. 121 (1989).................................................................27
Moore v. Harper, 600 U.S. ----, 143 S. Ct. 2065 (2023) .........................................22
Nadler v. Mann, 951 F.2d 301 (11th Cir. 1992) ......................................................12
People v. Trump, 2023 U.S. Dist. LEXIS 124733 (S.D.N.Y. July 19 2023) ... 12, 27
Ruppel v. CBS Corp., 701 F.3d 1176 (7th Cir. 2012) ..............................................16
Shelby Cnty. v. Holder, 570 U.S. 529 (2013) ..........................................................21
Texas v. Kleinert, 855 F.3d 305 (5th Cir. 2017). .....................................................35
Thompson v. Trump, 590 F. Supp. 3d 46, 78 (D.D.C. 2022)...................................23
United States v. Jules, 244 Fed. Appx. 964 (11th Cir. 2007) ..................................32
Willingham v. Morgan, 395 U.S. 402 (1969). .........................................................36
Statutes
28 U.S.C. § 1442 ..................................................................................................5, 11
28 U.S.C. § 1442 ............................................................................................... 12, 27
5 U.S.C. § 2732(a)(1). ..............................................................................................24
O.C.G.A. § 16-14-4 ....................................................................................................2
O.C.G.A. § 16-4-4 ....................................................................................................13
Regulations
28 U.S.C. § 1442 ........................................................................................................9
5 C.F.R. § 734.101 ...................................................................................................25
5 C.F.R. § 734.302(b)(2) ..........................................................................................25
5 C.F.R. §734.302(b)(2) .............................................................................................5


                                                           iii
 USCA11 Case: 23-12958                   Document: 42           Date Filed: 09/25/2023              Page: 6 of 47



5 U.S.C. § 2732(a)(1) .................................................................................................5
Constitutional Provisions
U.S. Const. art. I, § 4, cl. 1 .......................................................................................21
U.S. Const. art. II, § 3 ..............................................................................................23




                                                           iv
 USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023    Page: 7 of 47



                                 INTRODUCTION

      Federal officer removal under 28 U.S.C. § 1442(a)(1) is designed to protect

federal authority, but in this case, there is no federal authority to protect. Following

a full evidentiary hearing, and having failed to meet his low burden before the federal

district court for the Northern District of Georgia, Appellant Mark Randall Meadows

now asks this Court to apply a jurisdiction designed to insulate federal authority from

state interference to a case concerning precisely the opposite: Appellant and his co-

defendants engaged in activities designed to accomplish federal meddling in matters

of state authority. Appellant can point to no law, no constitutional provision, and no

lawful duty which authorized him to take the actions he did, and his testimony at the

evidentiary hearing in this case underscored the case against his removal rather than

for it. For the reasons shown below, the State of Georgia respectfully requests that

this Court affirm the district court s order, which is based on overwhelming

evidence, specific points of law, and a respect for the proper role of federalism in

the State of Georgia s prosecution of its own criminal laws.

                          STATEMENT OF THE CASE
      A. The Orchestrated Effort to Subvert the 2020 Georgia Presidential
         Election

      As alleged in the indictment returned by a Fulton County grand jury on August

14, 2023, several individuals     including Appellant-Defendant Mark Meadows

knowingly and willfully joined a conspiracy to unlawfully change the outcome of


                                           1
    USCA11 Case: 23-12958     Document: 42     Date Filed: 09/25/2023    Page: 8 of 47



the 2020 presidential election in then-                                      -1].1 The

nineteen charged defendants, along with dozens of unindicted co-conspirators, are

alleged to have constituted a criminal organization within the meaning of the

Georgia

members and associates engaged in various related criminal activities including, but

not limited to, false statements and writings, impersonating a public officer, forgery,

filing false documents, influencing witnesses, computer theft, computer trespass,

computer invasion of privacy, conspiracy to defraud the state, acts involving theft,

               Id. at 15; see O.C.G.A. § 16-14-4(b).

        Among the alleged efforts made by participants in this conspiracy are

              False Statements to, and Solicitation of, State Legislatures. This
              includes false statements made before members of the Georgia General
              Assembly on December 3, December 10, and December 30, 2020. Doc.
              [1-1] at 15-16. The false statements concerned unsubstantiated
              allegations of election fraud in the November 3, 2020 presidential
              election, and was intended to persuade Georgia legislators to reject
              lawful electoral votes cast by the duly elected and qualified presidential

              of the nominated electors of the losing candidate, i.e., then-President
              Trump. Analogous false statements were made to legislators in
              Arizona, Michigan, and Pennsylvania to achieve similar campaign
              goals in those states.

              False Statements to, and Solicitation of, High-Ranking State
              Officials. The indictment alleges that members of the enterprise made

1
 In accordance with Eleventh Circuit Rule 28-5, references to the record of this case
will refer to the document number from the district court docket in brackets, with
the page number following where applicable. References to Appellant s Brief will
be noted as App. Br. at X, with X representing the relevant page number.

                                           2
USCA11 Case: 23-12958    Document: 42     Date Filed: 09/25/2023   Page: 9 of 47



         false statements to Georgia officials, including the Governor, the
         Secretary of State, and the Speaker of the House of Representatives,
         urging those officials to violate their oaths of office by unlawfully
         changing the outcome of the November 3, 2020 presidential election in
         Georgia in favor of the losing candidate, then-President Trump. Doc.
         [1-1] at 16-17. Analogous false statements were made to state officials
         in Arizona, Michigan, and Pennsylvania to achieve similar corrupt
         campaign goals in those states.

         Creation and Distribution of False Electoral College Documents.
         The indictment alleges that the conspirators created false Electoral
         College documents and recruited individuals to convene and cast false
         Electoral College votes at the Georgia State Capital on December 14,
         2020, then transmitted those false documents to the President of the
         United States Senate, the Archivist of the United States, and the Chief
         Judge of the United States District Court for the Northern District of
         Georgia. Doc. [1-1] at 17. The false documents were intended to
         disrupt and delay the joint session of Congress on January 6, 2021, in
         order to unlawfully change the outcome of the November 3, 2020
         presidential election in favor of co-conspirator and Co-Defendant
         Trump. Similar schemes were attempted in Arizona, Michigan,
         Nevada, New Mexico, Pennsylvania, and Wisconsin, all with the same
         corrupt intent to subvert the lawful outcome of the 2020 presidential
         election.

         Harassment and Intimidation of Fulton County Election Workers.
         Members of the criminal enterprise falsely accused a Fulton County
         election worker of committing election crimes; those false accusations
         were repeated to Georgia legislators and others in an effort to
         unlawfully change the outcome of the November 3, 2020 presidential
         election. Doc. [1-1] at 17. The election worker was harassed,
         intimidated, and pressured to falsely confess to election crimes. Id.

         Solicitation of High-Ranking United States Department of Justice
         Officials. Members of the enterprise corruptly solicited high-ranking
         Department of Justice officials to make false statements to Georgia
         State government officials. Doc. [1-1] at 18.

         Solicitation of the Vice President of the United States. Members of
         the enterprise are alleged to have corruptly solicited the Vice President

                                      3
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023   Page: 10 of 47



             of the United States to violate the United States Constitution and federal
             law by unlawfully rejecting Electoral College votes cast by duly elected
             and qualified presidential electors from Georgia and other states. Doc.
             [1-1] at 18.

             Unlawful Breach of Election Equipment. Members of the enterprise
             unlawfully conspired to access secure voting equipment and voter data
             in Coffee County, Georgia and elsewhere. In Coffee County,
             conspirators stole ballot images, voting equipment software, and
             personal voter information. The stolen data was then distributed to
             other members of the enterprise, including members in other states.
             Doc. [1-1] at 18.

             Obstructive Acts in Furtherance of the Conspiracy. In an effort to
             cover up the conspiracy and in furtherance of its aims, members of the
             enterprise filed false documents, made false statements to government
             investigators, and committed perjury in judicial proceedings. Doc. [1-
             1] at 19.

      B. Appellant-                                  Role and Effort to Remove the
         Case

      Appellant Meadows is accused of joining and participating in the above-

outlined criminal conspiracy, in violation of O.C.G.A. § 16-14-4(b), and in a series

of overt acts that evidenced the conspiracy. Doc. [1-1] at 13-71. In addition,

Meadows is charged separately with Solicitation of Violation of Oath by Public

Officer, based on his and Co-Defendant Trump         solicitation of Georgia Secretary

of State Brad Raffensperger, a public officer, to violate his oath of office by altering

the certified returns for presidential electors in the November 3, 2020 presidential

election. Id. at 87 (Count 28).




                                           4
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023   Page: 11 of 47



      Appellant served as the Chief of Staff to then-President Trump for a ten-month

period spanning March 2020 through January 20, 2021. Doc. [65] at 11. Based on

this federal employment, Appellant filed a Notice of Removal pursuant to 28 U.S.C.

§§ 1442 & 1455. Doc. [1]. The Honorable Steve C. Jones declined to order

summary remand, and instead scheduled an evidentiary hearing. Doc. [6].

      C. The Evidentiary Hearing

      The district court held the evidentiary hearing on August 28, 2023. Much of

the day-long hearing consisted of the direct and cross-examination of Appellant-

Defendant Meadows himself. Doc. [65] at 9:155. Meadows described himself as



and almost limitless portfolio of duties. Id. at 13-14. At the same time, Meadows

acknowledged that his role of Chief of Staff did not exempt him from the

requirements of the Hatch Act, which he knew to prohibit a federal employee from

                                               he purpose of affecting the result of an

           Id. at 39:135-36; see also 5 U.S.C. § 2732(a)(1), 5 C.F.R. §734.302(b)(2)

(prohibiting a federal employee from using his or her official title while participating

in political activity). Meadows conceded that working for a political campaign,

specifically the Trump Re-Election Campaign, would be outside the scope of his

federal office. Doc. [65] at 113:4-6 [W]orking for the campaign, if I were working

for the campaign, that would not be my role


                                           5
USCA11 Case: 23-12958       Document: 42       Date Filed: 09/25/2023   Page: 12 of 47



      Time and again, however, Meadows admitted to engaging in acts that under

any reasonable analysis constitute campaign activity outside his role as a federal

employee, and which establish participation in the criminal RICO conspiracy with

which he is charged. As a threshold matter, under questioning, Meadows admitted

that then-President Trump had a personal interest in being re-elected and a personal

interest in seeing the adverse election results in Georgia, Michigan, and other states

overturned. Doc. [65] at 64 (Trump had a personal interest in seeing Michigan



seeing Georgia election result overturned). Meadows shared those personal and

political interests. Id. at 146 (Meadows

had a personal interest in Trump winning reelection). Meadows also undertook

actions simply to avoid being yelled at by his boss, then-President Trump. Id. at 148

(Meadows assisted with coordinating fake electors across several states, including

Georgia, in an effort to avoid the then-President Trump yelling at him).

      To those personal ends, Meadows undertook a series of actions that both

furthered the conspiracy

personal interests. Meadows communicated with the Trump Campaign on the

coordination of the fraudulent elector slates. Doc. [65] at 143-46 (email from

Meadows to campaign official: [w]e just need to have someone coordinating the

                       ; forwarding memo from Co-Defendant Cheseboro). When


                                           6
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 13 of 47



questioned about a meeting held on or about November 20, 2020 with then-President

Trump, Rudy Giuliani (as an attorney for Trump and/or the Trump campaign), and

legislators from Michigan to discuss allegations of election fraud in that state,

Meadows acknowledged being present and was unable to articulate any specific

federal role or policy that was furthered by his participation. Doc. [65] at 59:16-18

                                                                              . . . that

it is a free and fair           . Georgia Secretary of State Brad Raffensperger s

testimony established unequivocally that there is no federal role for executive branch

employees in the certification or administration of elections in Georgia. Id. at 189.

Despite that fact, Appellant repeatedly contacted Georgia State officials to advance

Trump campaign goals of overturning the Georgia results:

             Went on his own initiative to personally observe a Cobb County
             signature audit being conducted by State officials and law enforcement,
             id. at 76-77;

             Sent a text message to a Secretary of State employee offering Trump
             campaign funds for a Fulton County signature verification, compare id.

             in order to have results before Jan 6 if the Trump campaign assists
                            with 93 (admitting he had no authority to offer federal
             funds for that purpose), 195 (acknowledging federal government had
             no role in the signature audit);




             Participated in a January 2, 2021 call with Secretary Raffensperger,
             then-President Trump, and Trump s personal and campaign attorneys
             related to Trump campaign litigation, id. at 210 (Raffensperger


                                          7
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023    Page: 14 of 47




             demand for signature verification in Fulton county), 105-06, 124-25,
             163-64, 166-67 (campaign attorneys involved in call were not federal
             employees);

             Served as contact for campaign litigation attorneys, through attorney
             Cleta Mitchell, whom Meadows had recruited to assist with campaign
             litigation in Georgia, id. at 105-06, 122 (Meadows asked Ms. Mitchell
             to come to Georgia for the Trump campaign), 169 (Ms. Mitchell liaison
             to the Office of the President for litigation attorney), 170 (Mitchell had
             contact with Meadows for campaign litigation purposes).
In              view, the scope of his employment as Chief of Staff and his

advancement of federal policy and goals was so broad as to encompass the then-



      Q.    Is settlement of private litigation, does that have any federal
      purpose?

      A.     When that federal when that legislation when that litigation
      involves elections, I saw it as part of my role as the Chief of Staff to try
      to deal with that. The President gave clear direction on wanting to deal
      with it.

Id. at 110:7-12. Meadows was unable to give any example of an action done at the

                                stumping directly for a political campaign, that he

considered to be outside the scope of his role as Chief of Staff. Id. at 112-13.

According to Appellant, even acting to solely advance a campaign goal or interest is

not outside the parameters of his federal office. Id. at 114.

      D.

           Superior Court



                                           8
USCA11 Case: 23-12958       Document: 42     Date Filed: 09/25/2023   Page: 15 of 47



      Post-hearing, the district court requested supplemental briefing from the



overt acts charged [in Count 1, the RICO charge] occurred under the color of

                                                                          tion under

28 U.S.C. § 1442(a).         [63]. Following the submission of that supplemental

briefing, the district court issued an order remanding the criminal prosecution of

Meadows back to Fulton County Superior Court, concluding that Meadows failed to

meet his burden of demonstrating that removal is proper and consequently that the

district court lacked subject-matter jurisdiction. Doc. [69] at 1. Specifically, the

district court determined that Meadows had not met his burden of clearing even the



alleged enterprise (the charged conduct) were related to his federal role as White

                       Id. at 34.

                       SUMMARY OF THE ARGUMENT
      The district court properly declined to remove Appellant Meadows s case

under 28 U.S.C. § 1442(a)(1).

      First, the court engaged in a careful and exacting analysis in concluding that

Appellant had not met his burden to demonstrate a connection between the charges

against him and his official duties. Essentially, Appellant did not demonstrate that

he is being prosecuted for or relating to any act he took under color of office.



                                         9
USCA11 Case: 23-12958        Document: 42     Date Filed: 09/25/2023   Page: 16 of 47



The district court correctly determined that the relevant act means the charge,

and under a RICO conspiracy charge, that act is associating with the alleged

conspiracy. This type of act differs from most cases in that it is not a discrete or

 isolated act, so in order to determine whether it related to Appellant s official

duties, the court drew from precedent and looked at the gravamen or heart of

the charge.

      The court then determined what limits could be found on the scope of duties

for a White House Chief of Staff; although Appellant could not (and does not)

articulate any except for one, the court found obvious boundaries created by the

Constitution, federal statutes, and regulations. Evaluating the evidence adduced at

the hearing on this matter, the district court determined that Appellant had failed to

meet a very low bar; instead, the evidence overwhelmingly indicated that the

gravamen of his charged conduct concerned activities that fell outside the scope of

his official duties, either because there was no basis for executive branch authority

over matters related to Georgia s post-election activities or because Appellant s

actions were taken for the direct benefit of the Trump campaign. As a result,

Appellant had not made the required showing under the test for removal, and the

court could not take jurisdiction.

      Second, Appellant has not raised a colorable, or plausible, federal defense of

Supremacy Clause immunity. Appellant cannot show that he took any action for the


                                         10
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023   Page: 17 of 47



purpose of enforcing federal law, and he has admitted that he conceived of all of

his relevant actions as unquestionably political activity of the very type which is

forbidden to executive branch employees. Appellant also has not demonstrated that

any subjective belief he had that his actions were necessary and proper for his

official duties was objectively reasonable. The evidence also indicated that

Appellant had personal, rather than official, motivations for his actions on behalf of

the Trump campaign, vitiating any claim to a Supremacy Clause immunity defense

under this circuit s established precedent. Finally, even when viewed in the light

most favorable to Appellant, the evidence does not demonstrate that Supremacy

Clause immunity can provide him with a complete defense, and an incomplete

defense is not a plausible one.

                                    ARGUMENT

   I.      Appellant has not demonstrated that he has been prosecuted for acts
           taken under color of his office.

        As this Court is well aware, in seeking removal of his case, the defendant must

first make a showing that he is a federal officer subjected to criminal prosecution

 for or relating to any act under color of such office. 28 U.S.C. § 1442(a)(1). The

phrase relating to is broad and requires only a connection or association

between the act in question and the federal office. Caver v. Cent. Ala. Elec. Coop.,

845 F.3d 1135, 1144 (11th Cir. 2017) (internal citations omitted). This is not

                                               ot every act of or on behalf of a federal


                                          11
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023    Page: 18 of 47



officer is an act under color of office. People v. Trump, 2023 U.S. Dist. LEXIS

124733, *14 (S.D.N.Y. July 19 2023).           he person seeking the benefit of [federal

officer removal] should be candid, specific and positive in explaining his relation to

the transaction growing out of which he has been indicted, and in showing that his

relation to it was confined to his acts as an officer. Colorado v. Symes, 286 U.S.

510, 520 (1932) (emphasis added). The district court engaged in careful

consideration of this question which proceeded in several discrete steps.

   A. An         under 28 U.S.C. § 1442(a)(1) means a                           .

      The district court first applied precedent to answer a straightforward question

in a straightforward manner: what is the relevant act under 28 U.S.C. § 1442(a)(1)?

Relying on authority from a variety of sources, including this Court, the district court

established that one must look to the charges in the indictment in order to determine

the acts relevant to analysis under section 1442. Doc [69] at 11-13. This is because

the act at issue is necessarily defined by the claim presented. Id. See Nadler v.

Mann, 951 F.2d 301, 306 n.9 (11th Cir. 1992) (a district court has subject matter

jurisdiction             claim is                                           ) (emphasis

added). In a criminal case, a claim corresponds to a charge in an indictment. See

Doc. [69] at 12 n.8 (citing Kellogg Brown & Root Srvs. v. United States, 575 U.S.

650, 653 (2015)). Under Count 1 of the indictment, Appellant is charged with

conspiring to violate Georgia s RICO statute while associated with a criminal



                                          12
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023    Page: 19 of 47



enterprise that had a common plan and purpose to unlawfully change the outcome

                                      n co-defendant                    . As the district

court carefully explained, a RICO conspiracy charge under O.C.G.A. § 16-4-4(c)

requires only that a defendant conspire or endeavor to [ conduct or participate in,

directly or indirectly, such enterprise through a pattern of racketeering activity ]

and that any co-defendant take an overt act in furtherance of the conspiracy. Doc.

[69] at 17-20. Thus, for purposes of removal, Appellant s association with the

conspiracy is the charge, and therefore the act, that must be evaluated under the

test for removal. Id. at 20-21 ( Because the act as defined by Section 1442(a)(1)

means the charge against Meadows                                            his criminal

prosecution is removable when his association with the conspiracy relates to the

color of his federal office the act at issue for purposes of the Indictment s RICO

charge is Meadows s alleged association with the conspiracy. ).

      A key to Appellant s arguments is his mischaracterization, or dismissal, of

this first analytical step. Appellant cites to the very same language from Nadler as

the district court but insists, without elaboration, that the district court s reasoning

somehow conflicts with it. App. Br. at 32. He also argues that, in looking to the

nature of the charges against Appellant at all, the district court ignores clear

precedent establishing that federal officer removal is an exception to the well-

pleaded complaint rule. App. Br. at 31-32. But, as should be clear from Appellant s


                                          13
USCA11 Case: 23-12958         Document: 42      Date Filed: 09/25/2023   Page: 20 of 47



own arguments, that exception relates to the courts ability to grant jurisdiction based

upon a defendant s articulation of a colorable federal defense, not to how a district

court should define the relevant acts which it must analyze under the test for

removal. Appellant offers no substantive argument or authority that can challenge

the district court s determination that it must look to the nature of the charges in the

indictment to determine the relevant act for purposes of removal analysis.2

         Having brushed past the district court s threshold determination of how to

define what the relevant act actually is, Appellant is then free to insist that the

    act can be any of his individual actions that he asserts were taken under color of

his office, whether or not they are even elements of the charges against him. In

Appellant s reckoning, the district court could not define the relevant act for

purposes of removal, and neither could the State of Georgia; only he can articulate

what the relevant acts are. Appellant would have the district court not merely accept

his theory of the case as it evaluates his claim of a federal defense or even his

arguments regarding the scope of his duties, but also how the court should

fundamentally define the acts at issue. Appellant then insists that any individual




2
  While Appellant also argues that the State        vowed           claimed the overt
acts in the Indictment, this is not the case. The State merely argued a correct point
of law regarding RICO charges, which is that overt acts are neither charges nor
elements of an offense. They therefore do not constitute the acts that require analysis
under the test for removal.

                                           14
USCA11 Case: 23-12958        Document: 42       Date Filed: 09/25/2023   Page: 21 of 47



official act, if arguably taken under color of his office, suffices to authorize removal.

App. Br. at 31-32.

      This approach was specifically rejected by the district court based on the

structure of section 1442(a)(1), which

      indicates that the criminal prosecution must arise from an act that is for
      or relating to the color of a federal office. Even if a criminal defendant
      can characterize individual instances of behavior as part of his official
      duties within the broader charged conduct, this is not enough to convey
      subject matter jurisdiction on this Court. Put differently, facts indicating
      that a criminal defendant at times operated under the scope of his
      federal office will not provide this Court with subject matter
      jurisdiction under Section 1442 unless the State is criminally
      prosecuting the officer for those specific acts.

Doc. [69] at 11-12 (emphasis added). The district court s conclusion flows naturally

from its reliance on precedent demonstrating that the relevant act is found in the

 charge, and the conduct for which Appellant was charged is his association with

the RICO conspiracy.

      While the district court did not adopt Appellant s preferred approach, wherein

any individual conduct related to his official duties could authorize removal, neither

did it adopt the interpretation that would have most benefitted the State of Georgia:

that the overt acts involving Appellant, because they are not elements of the RICO

charge, are irrelevant for purposes of removal. Instead, despite the fact that overt

acts are not elements of the charge, the court still found that they are relevant




                                           15
USCA11 Case: 23-12958        Document: 42       Date Filed: 09/25/2023   Page: 22 of 47



evidence of whether Meadows s association with the enterprise related to his role as

White House Chief of Staff. Doc. [69] at 20.

      The Court then examined precedent from the Eleventh Circuit (Baucom v.

Martin, 677 F.2d 1346, 1347 48 (11th Cir. 1982)) before observing that a recent

Fourth Circuit case had sought                            of a plaintiff s claims where

some, but not all, of the relevant activities arguably fell within the scope of a federal

office. Doc. [69] at 16 (citing Mayor & City Council of Balt. v. BP P.L.C., 31 F.4th

178, 234 (4th Cir. 2022)). Even if some activities were federal in nature, the Fourth

Circuit looked to the complaint as a whole to determine that the heart of the

plaintiff s claims had to do with concealment and misrepresentation, activities that

did not have any relationship to official duties. Id. This approach echoed Justice

Scalia s observation in Jefferson County v. Acker: The point is only that the officer

should have to identify as the gravamen of the suit an act that was, if not required

by, at least closely connected with, the performance of his official duties. 527 U.S.

423, 447 (1999) (Scalia, J., dissenting). See also Ruppel v. CBS Corp., 701 F.3d

1176, 1181 (7th Cir. 2012) (citing Acker and upholding removal be



federal authority); Castillo v. Snyders, 497 F.Supp. 3d 299, 306 (N.D. Ill. 2020)

                                                                            that he had

been acting under color


                                           16
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 23 of 47



            o                                                             The district

court then set out to evaluate whether the evidence demonstrated a connection

between the heart of the RICO charge against Appellant and Appellant s official

duties,

conspiracy (the conduct for which he was charged) related to the scope of his federal

          Id. at 21-22.

      This reasoned middle approach represents the district court s application of

existing precedent to the novel circumstances of a RICO charge which encompasses

a broad array of conduct taken at different times and places and under different

circumstances. The Court is able to evaluate the relevant act as defined by

precedent and the structure of section 1442(a)(1) (Appellant s association with the

conspiracy) even where that act is not a discrete action but a collection of actions;

instead of conflating those individual instances of conduct with the relevant act,

the district court determined that it would use them to determine whether there was

a causal connection between [the State s charges] and an act of Defendant that

forms the basis of those claims. Id. at 14 (citing Caver at 1144).

      Appellant claims that the district court created a conspiracy exception that

 flipped the standard on its head. App. Br. at 31. However, the conclusion reached

by the district court regarding individual instances of conduct was not that the State

could defeat removal if it could possibly try the federal official without relying on


                                         17
USCA11 Case: 23-12958         Document: 42       Date Filed: 09/25/2023   Page: 24 of 47



an official act, even if official acts appear on the face of the Indictment   Appellant

insists. Id. Instead, the Court reached the rational conclusion required by the

established precedents



however, jurisdiction is not conferred simply because a single overt act relates to

                                        at 22 (emphasis added). The Court did not find

that a single overt act can defeat jurisdiction; it found that a single overt act was not

sufficient to confer jurisdiction. In claiming that the district court

standard on its head, Appellant elides the careful reasoning of the Order and

overstates his case.

      Appellant also argues that Acker requires only that a removing party broadly

 allege that the case was brought for engaging in official acts. App. Br. at 32. But

the language Appellant cites from Acker does not actually dispute Justice Scalia s

articulation regarding the gravamen of a claim. Acker, like most cases, involved a

single, discrete act that was not in dispute: the non-payment of a tax. The parties

(and the Justices) merely disputed how to characterize that act. The questions before

the district court here were wholly different: what exactly is the act that this

prosecution is for, and how can the court determine whether it relates to Appellant s

official duties? These are the questions that render an appraisal of the gravamen

or heart of the charge so appropriate under the circumstances of this case.


                                            18
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 25 of 47



      Thus, the district court did not create some exception without a basis in the

law. Instead, it looked to what precedent it could in order to evaluate whether

Appellant could establish a connection between the act at the heart of the RICO

charge against him and his scope of duties as Chief of Staff. As demonstrated below,

once the court determined the appropriate limits to Appellant s official duties, the

evidence overwhelmingly demonstrated that Appellant had not met his burden, low

as it may be.

   B. The district court properly defined some limits to Appellant s scope of
      duties as Chief of Staff.

      Having determined that the relevant act under its removal analysis is

Appellant s alleged association with a RICO conspiracy, the district court next set

out to define the scope of Appellant s role as Chief of Staff in order to determine

whether his act was taken under color of his office. The court first recounted

Appellant s own testimony and evidence submitted at the evidentiary hearing (Doc.

[69] at 24-28) and then turned to the constitutional and statutory limits placed upon

the President and/or the employees of the executive branch (Id. at 29-33). Overall,

the district court determined that Appellant could not provide any cogent explanation

of the scope of his duties, while the Constitution s Elections Clause and the Hatch

Act each provide clear limitations to the roles of the President and executive branch

employees. Appellant argues that the district court erred in reaching these




                                         19
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 26 of 47



conclusions, but his arguments fail to actually address the district court s central

points.

      Appellant devotes much of his brief to providing quotations and statements

about the nature of the White House Chief of Staff s job. App. Br. at 26-29, 34-39.

Appellant asserts that the record is clear that the Chief of Staff s role is broad,

powerful, and in at least some respects, inextricably political. These contentions,

however, are not what is in dispute. What Appellant was required to show was that

there was some connection between his charged conduct and the scope of his duties,

however broad they may be. His conclusory assertion that [i]t should be beyond

dispute that the Chief of Staff can and should manage the President s time and

attention to ensure the effective operation of government (App. Br. at 39) does not

actually grapple with anything that the district court found relating to the limits of

the Chief of Staff s role. This could be because, as the district court observed (Doc.

[69] at 111:12-113:6), Appellant could not articulate the limits of his role at the

hearing and even now acknowledges almost no limit to his role at all, regarding his

duties as at least coextensive with those of the President (App. Br. at 38)

(emphasis added) and the President s, in turn, as essentially limitless. During the

hearing, Appellant s counsel pronounced of Appellant, He is federal operations.

Doc. [65] at 239:7-8. It could also be because Appellant argues that any judicial

holding on the outer limits of the scope of the Chief of Staff s role, or at least any


                                         20
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023   Page: 27 of 47



holding contradicting his own definition of that role, would violate the Separation of

Powers by purporting to limit the role of the President s Chief of Staff through

judicial fiat. App. Br. at 29. Appellant thus argues that neither the district court nor

this Court could actually engage in the color of office analysis required under the

removal test without violating the Constitution.3 The State of Georgia responds that

this argument, to say the least, is meritless, and federal courts are empowered under

the Constitution to determine a federal employee s scope of office for removal

purposes. Here, the district court properly evaluated relevant sources in order to do

exactly that.

      The district court found that both the Constitution and relevant federal

legislation provide guidance on the outer limits of lawful executive branch authority.

First, regarding the Elections Clause, the district court observed that an express

grant in the Constitution endows the States     not the executive branch    with clear

constitutional authority over their own election administration and post-election

procedures. Doc. [69] at 29-30, 32 (emphasis original); see U.S. Const. art. I, § 4, cl.

1; see also Shelby Cnty. v. Holder, 570 U.S. 529, 543 (2013) (the Framers intended

that the States should retain the power to regulate elections ). This includes the


3
 Even the Attorney General scope-of-office certifications under the Westfall Act,
which Congress intended to conclusively establish whether a federal officer was
acting within the scope of his or her duties, are subject to de novo judicial review
upon challenge. Omnipol, A.S. v. Multinational Def. Servs., LLC, 32 F.4th 1298,
1305 (11th Cir. 2022).

                                          21
USCA11 Case: 23-12958        Document: 42       Date Filed: 09/25/2023   Page: 28 of 47



responsibility to create a complete code with regulations concerning prevention

of fraud and corrupt practices [and] counting of votes         . Moore v. Harper, 600

U.S. ----, 143 S. Ct. 2065, 2085 (2023) (quoting Smiley v. Holm, 285 U.S. 355, 366

(1932)). There is simply no close call regarding whether the President or the

executive branch more generally has any role to play in States administration of

their elections. Doc. [69] at 31. To the extent that the Constitution contemplates any

federal role in the mechanics of elections, that role belongs to Congress and its

authority over congressional elections, not to the executive branch. See Shelby Cnty.,

570 U.S. at 543.

      Appellant responds by insisting that          The Federal Government has a

substantial interest in the administration of elections and then points to authorities

providing some election-related roles to Congress. App. Br. at 40-41. Obviously,

these authorities do not respond to the district court s point, which is that there is no

role for the President or the executive branch in State-level elections operations. The

only executive branch role in election-related matters actually identified by

Appellant is the role of the Department of Justice s Civil Rights Division and

Election Crimes Branch in litigation and federal law enforcement. Id. at 41-42. Even

then, Appellant does not clarify how any evidence introduced at the hearing related

to special operations of the Department of Justice or his role in facilitating them as

Chief of Staff, or generally how the Civil Rights Division or Election Crimes Branch


                                           22
USCA11 Case: 23-12958        Document: 42       Date Filed: 09/25/2023   Page: 29 of 47



have anything at all to do with his case. Certainly, he points to nothing that supports

a claim of error by the district court in determining Appellant had no role in state-

level elections operations as Chief of Staff.

      Second, regarding the Take Care Clause, U.S. Const. art. II, § 3, the district

court observed that that the President s authority to take Care that the Laws be

faithfully executed does not extend to government officials over whom [the

Executive] has no power or control. Doc. [69] at 31 n.13 (citing Thompson v.

Trump, 590 F. Supp. 3d 46, 78 (D.D.C. 2022). Appellant declares that the district

court s analysis is facile in that it ignores the possible role the President could play

in either advising Congress, proposing legislation, or supervising federal officials

who might interact with state officials, and that the President does not need to have

actual authority when he has a legitimate interest. App. Br. at 43. Appellant

provides no authority for the proposition that a legitimate interest confers lawful

authority on the President under the Take Care Clause, an interpretation that would

obliterate any limit to his power under the Clause, which does not confer limitless

presidential authority or the authority to encroach on the powers vested in the co-

equal branches. Thompson, 590 F. Supp. 3d at 77 (citing Youngstown Sheet & Tube

Co. v. Sawyer, 343 U.S. 579, 587-88 (1952)). And, once again, he does not point to

any evidence that Appellant was assisting in taking care that a federal law was




                                          23
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 30 of 47



being executed, or that Appellant was ensuring that the President could advise

Congress regarding state-level elections operations.

      Third, the district court used the clear prohibitions of the Hatch Act to assist

it in determining the outer limit of an executive branch employee s lawful duties.

During the evidentiary hearing, Appellant acknowledged that he was bound by the

Hatch Act and he could not engage in political activity. Doc. [69] at 26; Doc. [65]

at 39:7-25, 135:21-136:5. He now argues the opposite, claiming that the Act does

not operate to define the role of a President or his senior aides, and, if it somehow

did limit the duties of the President s Chief of Staff as he himself testified, such

limitations would violate the Separation of Powers. App. Br. at 43-44. Appellant

thus does not so much contend with the district court s straightforward application

of the Hatch Act as insist that the Act should not apply to him, despite his testimony

that it did exactly that. What Appellant now urges, then, is that an exception should

be made for him.

      The district court s clear reasoning indicates why Appellant has taken this

contradictory, extreme, and self-serving position: the Hatch Act paints a very clear

outer boundary on authorized conduct for executive branch employees that

Appellant crossed, admittedly, time and again. As the court observed, the Act

prohibits employees from using their official authority or influence for the purpose

of affecting the result of an election. 5 U.S.C. § 2732(a)(1). This includes using


                                         24
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023   Page: 31 of 47



his or her official title while participating in political activity.       5 C.F.R. §

734.302(b)(2). Political activity is defined in turn as activity directed toward the

success or failure of a political party, candidate for partisan political office, or

partisan political group. 5 C.F.R. § 734.101. The analysis is quite simple: the Hatch

Act, a federal law, explicitly defines types of activity which fall outside the lawful

scope of an executive branch employee s role. The Court, analyzing the evidence

submitted, determined that Appellant was engaged in post-election activities and

election outcomes in various States pertaining to a particular candidate for office,

and that thereby went outside of his lawful role because he had not shown how his

actions relate to the scope of his federal executive branch office. Doc. [69] at 33.

      Against this, Appellant claims either that the Hatch Act does not in fact apply

to him (despite his testimony otherwise), that it somehow violates the Separation of

Powers if it does apply to him, or, failing either of those positions, that the district

court has somehow invented a political exception to the scope of the Chief of

Staff s duties that blinks reality. App. Br. at 34-38. This latter argument is based

entirely on ignoring the very specific definition of political activity cited by the

district court and found at 5 C.F.R. § 734.101, which Appellant does not cite or even

acknowledge. Instead, Appellant attempts to conflate that statutory definition with a

general concept of political activity in the abstract, claiming that the district court

has attempted to remove politics from the Chief of Staff s role. Obviously, the


                                          25
USCA11 Case: 23-12958         Document: 42      Date Filed: 09/25/2023    Page: 32 of 47



district court did no such thing, and when you remove this obvious conflation from

the mix, Appellant s argument falls apart. Instead, it is clear that he has no argument

unless one either ignores the Hatch Act entirely or refuses to apply it to him.

Ironically, Appellant seeks an exception from the Hatch Act for himself while

accusing the district court of somehow creating one that is harmful to him.

      The district court, of course, did no such thing. It likewise did not invert It

merely examined the prohibitions found under the Act, analyzed the evidence of

Appellant s activities in this case, and determined that Appellant had engaged in acts

that constituted unauthorized political activity under the specific language of

federal regulations. What the court did, to Appellant s chagrin, was not create an

exception for him.

      The boundaries set by the district court on Appellant s scope of duties and

 color of office find their basis in the Constitution and federal law. Appellant can

point to no constitutional provision, federal law, regulation, or other authority that

countenanced his actions in this case, so he merely argues that the Court cannot look

to any of those sources for limits to his lawful duties. This is true even where

Appellant himself testified that a statute limits his authority. As a result, the district

court did not err in defining some limits to the scope of Appellant s official duties,

and, as shown below, the application of those meager limits demonstrates why

Appellant failed to meet the low bar required for removal of his case.


                                           26
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023   Page: 33 of 47



   C. The evidence overwhelmingly demonstrated that Appellant             s were
      outside the scope of his duties and therefore not taken under color of his
      office.

      After defining the relevant act for purposes of section 1442(a)(1) and

determining some of the outer boundaries of a Chief of Staff s scope of duties, the

district court determined that the evidence before the Court overwhelmingly

suggests that Meadows was not acting in his scope of executive branch duties during

most of the Overt Acts alleged. Doc. [69] at 43. The district court s evaluation of

the evidence is sound, and there is no reason to question its credibility determinations

or assessment of witness testimony. As a result, its Order declining jurisdiction

should be affirmed.

      As noted above, the person seeking the benefit of [federal officer removal]

should be candid, specific and positive in explaining his relation to the transaction

growing out of which he has been indicted, and in showing that his relation to it was

confined to his acts as an officer. Symes, 286 U.S. at 520 (emphasis added). In

                 the                      liberal construction of the statute should be

balanced against a strong judicial policy against federal interference with state

criminal proceedings because preventing and dealing with crime is much more the

business of the States than it is of the Federal Government.    People v. Trump, 2023

U.S. Dist. LEXIS 124733, *14 (S.D.N.Y. July 19 2023) (quoting Mesa v. California,

489 U.S. 121, 138 (1989) (quoting in turn Arizona v. Manypenny, 451 U.S. 232, 243



                                          27
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023     Page: 34 of 47



(1981)).               a more detailed showing is necessary for the removal of a

criminal case. Willingham v. Morgan, 395 U.S. 402, 409 n.4 (1969).

      The removing party bears the burden of demonstrating that removal is proper,

and if the non-

notice of removal, the removing

competent proof. Trump, 2023 U.S. Dist. LEXIS 124733 at *15. This is precisely

what the district court found Appellant had failed to accomplish. In light of the

                                                                                   during

the time period of the alleged conspiracy, Meadows was required to come forward

with competent proof of his factual contention that his actions involving challenges

                                                                        within his role as

Chief of Staff. His efforts fall short. Doc. [69] at 42-43.

      The district court arrived at this conclusion after evaluation of each of the

eight overt acts in the Indictment which mention Appellant s involvement. Having

determined that [t]he procedures States utilize to conduct elections and ensure

results are not part of the executive branch s role or powers, the court reasoned that

Appellant therefore cannot have acted in his role as a federal officer with respect to

any efforts to influence, interfere with, disrupt, oversee, or change state elections:

those activities are expressly delegated to the States. Id. at 36. In light of this, the

court found that Appellant had not presented sufficient evidence that overt acts 92,


                                          28
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 35 of 47



96, or 112 related to any legitimate purpose of the executive branch within the

scope of his duties as Chief of Staff. Rather, these overt acts concerned campaign-

related activity that the court determined fell outside that scope. The district court

made such determinations even after discussing Appellant s testimony as to each

overt act. Id. at 36-40.

      Regarding overt acts 5 and 93, the district court determined that the evidence

did not support Appellant s contention that they concerned merely the workaday

routine of the Chief of Staff such as meetings or phone calls. Instead, the evidence

demonstrated that the actual substance of the acts concerned the type of political

activity devoted to the purpose of furthering the common objective of success of

a particular presidential candidate and thus specifically prohibited by regulation.

Id. at 40 (citing 5 C.F.R. § 734.101). Again, the court reached this conclusion only

after assessing Appellant s own testimony and weighing it against all of the

evidence. Doc. [69] at 40-42.4

      Appellant insists that he comfortably met the standard required of him for

removal by providing testimony on each of the overt acts alleged and how they



4
 The Court found that overt act 6 was arguably within the scope of Appellant
duties, while overt acts 9 and 19 were merely                  . [69] at 35, 36 n.14.
While Appellant insists that this was error, since his testimony had disputed the
veracity of overt acts which the State was not actually required to prove, the Court
                                 l.                                      would have
been to weigh these overts against Appellant regardless.

                                         29
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 36 of 47



related to some duty that could be within the proper scope of his office. App. Br. at

24-26. Thus, his    clear and unrebutted testimony        demonstrated the    federal

interests at play and should have authorized removal. Id. at 50. The problem for

Appellant is that he was cross-examined. The district court did evaluate his

testimony, extensively; it was his own time on the stand which contributed mightily

to the district court s determination that the evidence weighed overwhelmingly

against his claims. In order to find for Appellant, [t]he Court would be ignoring the

evidence Meadows himself submitted of his post-election related activities and the

purpose of the federal officer removal statute. Doc. [69] at 48. Additionally, his

testimony was not unrebutted ; the district court noted that the State has put forth

evidence that at various points during the time of the alleged conspiracy Meadows

worked with the Trump campaign, which he admitted was outside the role of the

White House Chief of Staff. Id. at 42. Finally, his testimony as also not clear ;

Appellant could not articulate what limits existed for his role, he was contradicted




                                         30
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023   Page: 37 of 47



by the evidence on the stand,5 and at several points he attempted to explain that his

use of the word we did not actually signify that he meant we. 6

        Appellant appears to insist that his own testimony, free from any challenge,

should be the only evidence considered. It is not clear what role an evidentiary

hearing should play in Appellant s conception of removal, where once he has

advanced a theory and given his own self-serving testimony, all inquiry should end.

The district court, of course, was free to evaluate Appellant s testimony and

    determine the appropriate amount of weight to assign to his testimony when

evaluating it, the same as it does any other witness in an evidentiary hearing,

although in these circumstances, the court did so with extreme care. Doc. [69] at 28

n.12. Credibility determinations are typically the province of the fact finder because

the fact finder personally observes the testimony and is thus in a better position than


5
    A
                           al states, Appellant was forced to acknowledge under
cross-examination that he had in fact given direction to a campaign official in this
regard. Specifically, Appellant

a memorandum written by co-defendant Kenneth Chesebro recommending the
organization of slates of presidential electors to meet and cast votes for Mr. Trump
in states Mr. Trump had lost. Doc. [65] at 140-146.
6
 The district court was free to consider that, several times, Appellant insisted that
                                          Appellant
obvious context of Appellant                Doc. [65] at 96, 146, 148. Appellant
                                             appeared at various points where an
                                                     Appellant within the Trump
campaign and its efforts.

                                          31
USCA11 Case: 23-12958        Document: 42     Date Filed: 09/25/2023   Page: 38 of 47



a reviewing court to assess the credibility of witnesses   [A] trial court s credibility

determination is conclusive on the appellate court unless the judge credits

exceedingly improbable testimony      [The Eleventh Circuit] will overturn a district

court s credibility determination where the credited testimony is unbelievable.

United States v. Jules, 244 Fed. Appx. 964, 972 (11th Cir. 2007) (internal citations

omitted). The district court was free to consider all of the evidence, the demeanor

and presentation of the witnesses (including Appellant) on the stand, and the overall

picture presented. When combined with the limits to the Chief of Staff s duties

which it had identified, the Court s determination that Appellant had not carried his

burden in demonstrating a sufficient connection between the gravamen of the charge

against him and his federal duties was sound, and its Order should be affirmed.

   II.      Appellant has not demonstrated that he has a colorable Supremacy
            Clause immunity defense.

         To remove a case under Section 1442, Appellant

                   Mesa v. California, 489 U.S. 121, 136 (1989). In the context of

                                                                              , 91 F.3d

1424, 1427 (11th Cir. 1996). Appellant has raised the defense of Supremacy Clause

immunity, which requires him




In re Neagle, 135 U.S. 1, 75 (1890). Although the district court did not reach the

                                         32
USCA11 Case: 23-12958        Document: 42       Date Filed: 09/25/2023   Page: 39 of 47



question of whether Appellant raised a colorable federal defense, he has failed to

demonstrate that th                         defense. Furthermore, in this circuit, a

                                      ause immunity is negated by evidence that they



                                            Baucom v. Martin, 677 F.2d 1346, 1350

(11th Cir. 1982).

      Appellant             n of a Supremacy Clause immunity defense falls far short

of plausibility for several reasons. First, as detailed above, his relevant activities

were not within the lawful scope of his authority as Chief of Staff. In his own motion

to dismiss, Appellant admitted that even in his candid estimation, his pertinent



outside the lawful scope of his authority as Chief of Staff. See Doc. [15-1] at 23-24.

Additionally, again, there is no role for the executive branch in the S

administration of elections under the Constitution. It is the States that are empowered

to select electors who will cast votes for president and vice president, and the electors

transmit a tally of those votes to the President of the Senate. U.S. Const. art. II, § 1,

cl. 3; id. amend. XII. The States are left to determine the manner of their elections.

State officials, and not federal ones, prepare the elections, conduct them, assemble

the ballots, count the votes, and certify the results. Logical, then, that Appellant and

other co-defendants spent enormous time and effort contacting, cajoling, pressuring,


                                           33
USCA11 Case: 23-12958        Document: 42      Date Filed: 09/25/2023   Page: 40 of 47



and otherwise interacting with State officials in the relevant time period: because the

President had no authority of his own in the administration of the election. Federal

removal is designed to protect federal functions from State interference, but that was

not a risk in these 2020 or 2021 events, and is not a risk now. Instead, this case

concerns attempts to interfere in state functions by federal officials without any

authority of their own.

      Second, even if Appellant had arguably acted as authorized under federal law

(rather than directly contrary to it), that authority would be negated by the evidence



                                                Baucom, 677 F.2d at 1350. Appellant

admitted that he had a personal interest in co-defendant Trump winning the 2020

election, and any rational evaluation of his actions demonstrates that he was acting

on behalf of the Trump campaign throughout the period of the alleged conspiracy.

Doc. [65] at 146:6-16. Appellant does not dispute this      he admitted that all of the

activity at issue in the indictment falls under the right of individuals to campaign for

                                                -1] at 24. Appellant cannot plausibly



evidence demonstrates his personal interest, criminal intent, and overall motivations




                                          34
 USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 41 of 47




tir

      Third, Appellant cannot credibly argue that he did no more than that which



an officer must subjectively believe that his actions were appropriate to carry out his

                                                                 Texas v. Kleinert, 855

F.3d 305, 314 (5th Cir. 2017). As the record demonstrates, there is no authority

anywhere for the President or his Chief of Staff to insert themselves into the electoral

processes of the State of Georgia        meaning                 actions were neither

necessary n                                                             rence for who

occupies it. . . . A function of the presidency therefore is not to secure or perpetuate

               Thompson, 590 F. Supp. at 82 (emphasis original). Appellant offers

no support for how

chief of staff included acting on behalf of the Trump campaign, pressuring state

officials, or pursuing unlawful strategies designed to ensure co-defendant

reelection, particularly when Meadows admitted in his own testimony that he was

bound by the limits of the Hatch Act. Even if there were some authority supporting

Appellant



              Id. at 1351. Even if Appellant did act at the behest of or in service to


                                          35
USCA11 Case: 23-12958         Document: 42      Date Filed: 09/25/2023    Page: 42 of 47



the person who was resident at the time, that is not enough to demonstrate a plausible

Supremacy Clause immunity defense                                 officials face a variety

of demands on their time, . . . some private, some political, and some as a result of

                 Clinton v. Jones, 520 U.S. 681, 705 n.40 (1997). A claim of immunity

                                                                  ity of [the P

           Id. at 695. There is no demonstrable basis for federal authority related to

Appellant                         district court received ample evidence of personal,

political, unofficial intentions and activities, many or most of which Appellant

readily admits.

          Finally, Appellant cannot demonstrate that Supremacy Clause immunity is a

complete defense for him, i.e., the relevant benchmark. Supremacy Clause immunity

could not accomplish this for Appellant under the present circumstances because he

has admitted that he was bound by the Hatch Act and therefore, any activity taken

on behalf of the Trump campaign would be sufficient to demonstrate his association

with the alleged conspiracy.
                                                                                  7
          Thus, while Appellant nee                                                   at this

stage, he must at least be able to show it is a plausibly sustainable defense. Likewise,
                                                       8
                                                           he cannot clear the low bar of


7
    Willingham v. Morgan, 395 U.S. 402, 407 (1969).
8
    Id.

                                           36
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023    Page: 43 of 47



demonstrating that his defense would make it possible for him to win his case. To

                                       be anything less than

would reduce the test for federal removal from permissive to nearly nonexistent.




appear to have ever been challenged. See Hagen v. Benjamin Foster Co., 739

F.Supp.2d 770, 778, 783 (E.D. Pa. 2010)                                   hat a defense

is colorable for purposes of determining jurisdiction under Section 1442(a)(1) if the

defendant asserting it identifies facts which, viewed in the light most favorable to
                                                               9
                                                                   As the district court

observed, Appellant has failed to identify facts which, even when considered in the



9
    Courts that have followed Hagen
                                                                    Papp v. Fore-
Kast Sales Co., Inc., 842 F.3d 805, 815 (3d Cir. 2016); the Southern District of
Alabama, Morgan v. Bill Vawn Co., Inc., 2011 WL 6056083, * 5 (S.D. Ala. Dec. 6,
2011), Davis v. Central Ala. Elec. Coop., 2015 WL 4742496 (S.D. Ala. Aug. 11,
2015); the Southern, Eastern, and Northern Districts of New York, Williams v. Aetna
Life Ins. Co., 2013 WL 593505, * 6 (S.D. N.Y. Jan. 30, 2013), Gordon v. Air &
Liquid Systems, Corp., 990 F.Supp.2d 311, 316-17 (E.D. N.Y. 2014), Gates v. AO
Smith Water Prods. Co., 2014 WL 104965, * 4-5 (N.D. N.Y. Jan. 9, 2014), Crews
v. Air & Liquid Systems, Corp., 2014 WL 636362, * 3 n. 2 (N.D. N.Y. Feb. 18,
2014); and many others. See also Walkup v. Air & Liquid Systems Corp., 2013 WL
5448623, * 4-5 (D. Del. Sept. 26, 2013); Joyner v. A.C. & R. Insulation Co., 2013
WL 877125, * 6 (D. Md. Mar. 7, 2013); Thompson v. Crane Co., 2012 WL 1344453,
* 20 (D. Haw. April 17, 2012); Kraus v. Alcatel-Lucent, 2018 WL 3585088 (E.D.
Pa. July 25, 2018).


                                         37
USCA11 Case: 23-12958       Document: 42      Date Filed: 09/25/2023   Page: 44 of 47



light most favorable to him, demonstrate how all of his activity could have been

                                                                          objectively

reasonable.                                                    revealing and repeated

use of the term

                                                                          Doc. [65] at

140-46. This evidence alone, even when viewed in the most favorable light,

                                   on with the campaign, the conspiracy, and makes

it impossible for him to completely shield himself with Supremacy Clause immunity.

      The district court was correct in finding that Appellant had not met his burden

to demonstrate his acts were taken within the color of his office. Should this Court

reach the question of a colorable federal defense,            s proffered Supremacy

Clause immunity falls similarly short. Such a defense could not plausibly apply to



conspiracy and thus could not be a complete defense, particularly given

own testimony and arguments advanced regarding the Hatch Act, his participation

in vigorous and tireless campaign activity, and his personal motivations. Having

failed to raise a plausible federal defense, Appellant cannot make the required

showing for removal and remand to the Superior Court of Fulton County is proper.




                                         38
USCA11 Case: 23-12958        Document: 42     Date Filed: 09/25/2023   Page: 45 of 47



                                  CONCLUSION

         For the foregoing reasons, because Appellant Meadows s arguments fail to

demonstrate that the district court erred in declining to apply removal jurisdiction,

the State of Georgia respectfully requests that this Court affirm the district court s

order.

         Respectfully submitted, September 25, 2023.

                                       By: s/ F. McDonald Wakeford
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                                         39
USCA11 Case: 23-12958     Document: 42       Date Filed: 09/25/2023   Page: 46 of 47



                    CERTIFICATE OF COMPLIANCE

1. This motion complies with the type-volume limit of Federal Rule of Appellate

Procedure 32(a)(7)(B) because, excluding the parts of the document exempted by

Federal Rule of Appellate Procedure 32(f) and Eleventh Circuit Rule 32-4, this

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2. This motion complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because this motion has been prepared in a

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     This 25th day of September 2023.

                        s/ F. McDonald Wakeford
                        F. McDonald Wakeford




                                        40
USCA11 Case: 23-12958    Document: 42     Date Filed: 09/25/2023   Page: 47 of 47



                        CERTIFICATE OF SERVICE

         I hereby certify the foregoing was served upon the following by the
     PACER electronic filing system, as well as by email and US Mail:


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    Dated this 25th day of September, 2023.


                        s/ F. McDonald Wakeford
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                                     41
